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IN THE UNITED STATES BANKRUP'I`CY COURT
F()R THE I)ISTRICT ()F DELAWARE

 

)
In rec ) Chapter 11
)
J & M SALES INC., et al., ) Case No. 18-11801 (LSS)

)

l|)el:)tors.1 ) Jointly Administered
)
)

Re: D.I. 1106

 

ORDER CONVER'I`ING DEB'I`ORS’ CHAPTER 11 CASES TO CASES UNDER
CHAI’TER 7 OF 'I`HE BANKRUPTCY CODE

Upon the l\/lotion2 of Gordon Brothers Finance Company in the Chapter ll cases
of the above-captioned (the “_I_)_el;to;s”) seeking entry of an order (i) converting the Debtors’
chapter ll cases to cases under chapter 7 of the Bankruptcy Code and (ii) granting such
other relief as this Court deems just, proper, and equitabie; and the Court finding that (i) it
has jurisdiction OVer the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and
1334, (ii) this is a core proceeding pursuant to 28 U.S.C. § 157, (iii) the relief requested in
the Motion is in the best interests of the Debtors’ estates and its creditors, (iv) adequate
notice of the Motion and the hearing thereon has been given and that no other or further
notice is necessary, and (v) upon the record herein, after due deliberation thereon, good

and sufficient cause exists for the granting of the relief as set forth herein;

 

1 The Debtors in these Chapter ll cases, along With the last four digits of each Debtor’s federal tax
identification number, are: 5 & M Sales Inc. (4697); Nationai Stores, Inc. (4874); J&M Sales of
Texas, LLC (5979); FP Stores, Inc. (6795); Southern Island Stores, LLC (8099); Southern Island
Retaii Stores LLC (4237); Caribbean Isiand Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas
Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924). Debtors’ mailing address is
15001 South Figueroa Street, Gardena, CA 90248.

2 Unless otherwise defined herein, all capitalized terms shall have the meaning ascribed to them in
the Motion.

 

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IT IS HEREBY ORDERED that:
l. These cases commenced under chapter ll of the Bankruptcy Code are

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converted to cases under chapter 7 pursuant to section 1112('0) as e’f‘the»dme=hM.

2. The Debtors shall:

a. Forthwith tum over to the Chapter 7 trustee all records and property
of the estates under their custody and control as required by Fed. R. Banl<r.
P. 1019(4); and,

b. Within 15 days of the date of this Order tile a schedule of unpaid
debts incurred after commencement of the superseded cases including the
name and address of each creditor, as required by Fed. R. Banl<r. P. l()l 9(5).

3. The Debtors shall, Within 30 days from the date of this Order, file and
transmit to the United States Trustee a final report and account as required by Fed. R.
Banl<r. P. 1019(5)(A).

4. A Debtor representative, and, if so requested by the chapter 7 trustee,
counsel to the Debtors in these cases shall appear at the First Meeting of Creditors pursuant
to Sections 341 (a) and 343 of the Bankruptcy Code and such representative shall be
available to testify at such hearing

5. This Court shall retain jurisdiction over the terms and conditions of this

Order.

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'I\lfrIE HONORAiBLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE

 

 

